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APPENDIX IV
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PLEASE NOTE: There will be an executive session in the Faculty Lounge

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immediately following the Schoo! Board Planning meeting on
OCTOBER 4. 2004 concerning the architectural contract and
~ hegotiations.

On OCTOBER 18, 2004 there will be an executive session

immediately following the regular board meeting in the Faculty
Lounge with representatives of DAEA and DASSPA on Health
Care (3 types).

 

MISSION STATEMENT

Gur mission, in partnership with family and community, is to educate students. -:
We emphasize sound basic skills and nurture the diverse needs of our students

as they strive to become lifelong learners and contributing members of sur
Blobal sactetp.

DOVER AREA SCHOOL DISTRICT
SCHOOL BOARD PLANNING MEETING AGENDA
MONDAY, OCTOBER 4, 2004

Web Address: warn dover KI? paws

NORTH SALEM ELEMENTARY SCHOOL
7.00 PM

PLEDGE OF ALLEGIANCE
SILENT REFLECTION

ROLE CALL
STUDENT/STAFFE/COMMUNITY/BOARD RECOGNITION

BOARD INSERVICE
A. Act 72, Dr. Nilsen and Mrs. Russel! — October 4, 2004.

 

B. Dan Burton end Mike Stramara, RBC Dain Ranscher presentation on Voyageur Asset
Management - October 18, 2004,

COMMUNICATIONS

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VI APPROVAL OF MINITES

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Approve minutes of September 7, 2004 and September 13, 2004.
(Enclosure — VI-Aj

‘Backsroun d Information:

Any corrections to the minutes should be given to the Board Secretary no later they
2:30 P.M., October 4, 2004.

PRESIDENT’S CO CATIO

STUDENT AFFAIRS - Bill Buckingham

Approve request by Mrs. Marion Young, fourth grade teacher, Weigelstawn Elementary
School to take her fourth grade class on an additional field trip not on the anginal

Incinerator Plant in York.

Backsround Information:

The students will benefit from this activity because it ties into their clricu]) um
requirements regarding envirenmental areas in reading, science, social studies, and stats
standards. There vill be no cost to the District or PTO, as Mrs. Young has received a erant
from: the Solid Waste Authority to cover all costs asscciated with this trip.

Approve tequest by Sara Reddington, Vocal Music teacher, Dover Area High School to
take five male students of the 9" Grade Choir to Mansfield University fora perfonnance
and performance evaluation, Novernber 3, 2004 at an approximate cost of $120.00,

Backeround Inforn ation:

Funds for this tip have been budgeted, (#3210-519) Students are alsa contributing $20.06
fach for additional expenses.

STUDENTS’ REPORT
PERSONNEL ~ Casey Brown

Resienations:
1, Susan Alien, Dental Clerk, effective September 27 2004,

Backeround Information:
Mrs. Allen is resignine frem this Position fot personal reasons.

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Amy Jans, part-time covk‘cashier, North Salem Elementary School, effective
September 24, 2004.

Back sround Information:

Ms. Jans is resiguing due to personal reasons.

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3. Micheile Shive, part-time cashier/cook, North Szlem Elementary School. effective
September 24, 7004.

Backeroupd information:

-- Mrs. Shive is resigning to take 2 position with increased hours at North Salem
Eiementary School,

Appointments:

lL. Dehorah Smith, long-term substitute Kindergarten Teacher, Kralltown Elementary
School, effective September 22, 2004 to the end af the 2004-2005 school year at a
compensation rate of $144.68 per day.

Background Information:

Superintendent's emergency approval was granted for Ms. Smith to begin
September 22, 2004, Ms. Srnith is recommended to fill the vacancy duc to the
childrearing leave of Alicia Shaffer.

2. Sheryl Smith, Quiz Bowl Co-Advisor for the 2004-2005 schoal year at a
compensation rate of $654, Level 6, Year 15,

Background Information:
Mrs. Smith is recommended to fill this vacancy dus to the resizmation of Melissa
Carl. Mrs. Smith is a mathematics teacher at Dover High School,

laa

Michelle Shrve, part-time cashler/copk, Notth Salem Elementary School, effective
September 27, 204 at a compensation rate of $6.75 per hour’4 hours pet day.

Backeround Information:
Superintendent's EMmergency approval was cranted for Mrs. Shive ta begin on

September 27, 2004, Mrs, Shive is recommended to fill the vacaney due 1 the
resignation of Amy Jans.

Approve the Act 93 agreement for 2004-2005 to 2008-2009 school years.
(Enclosure — X-C)

Backeround Information:

See enclosure,

Approve request by Kathleen Eshbach, Leib Elementary Schooi to taks threc days without
pay, Novernber 12, 15,16, 2004,

Backeround Information:

Tue to an illness, Mrs. Esithach was unable to take her vacation during the surmmer
months.

Approve request by Tara Fochr te accompany Holly Crone and Josh Rowand :o the PSBA
Student Delegate Program, September 29 — Qeesner 1, 2004 at an approximate cost of
2475.00. (Eaclosure ~ X- E}

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Back eround pf Lon:

Superintendent's emergency approva] was granted for Mrs. Focht to attend the program
September 29-October 1, 2004, (#2310-580)

Approve the additional names to be added to the substitute teacher list for the 2004-2005
‘school year, (Enclosure —X-F)

Backeround Information:
See enclosurc.

Approval to add the following name to the Secretary/Receptionist Substitute List, starting
October 5, 2004, at compensation rates per the board approved Support Staff Sub rates
from the 2002-2003 worksheet as follows:

Lon Nelson — Receptionist, $5.95 per hour
Secretary: 56,08 per hour

Conferences:

L. Dr, Richard Nilsen to attend the AASA National Conference in San Antonia,
Texas, Februacy 1? - 20, 2005 at an approximate cost of $2,585.00.
(Enclosure - X-H.I)}

Backeround Information:
Momies for thas conference will come out of Title IT funds.

Z. Lori Stollar, Secial Studies teacher, Dover Area High School to atterd the PASCD
Annual Conference: Navigating the Seas of Accountability, Hershey Lodge and
Convention Center, November 2()-23, 2004 at an approximate cost of $240.00,
(Enclosure — X-H.2)

Backrround Information:

Mrs. Stollar is a presenter at this conference. Monies for this conference will come
out of Title IT funds.

3. Lon Stallar, Socta! Studies Teacher, Dover Area Hieh School to attend the ASCD
Annual Conference, Oriando, FL, April 2-4, 2005 at an approximate cost of
$1,695.00. (Enclosure — X-H,3}

Backsround Information:

Mrs. Stoliar is a presenter at this conference. Monies for this conference will come
out of Title 0 funds.

4, Michael Baksa, to attend the PASCD Annual Conference: Navigating the Seas af
Accountability, Hershey Lodge: znd Convention Center, November 20.23, 2004 at
an approximate cost of $240.00 (Enclosure — X-#. 4)

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Background Information:

PASCD (Pennsylvania Association for Supervision and Curriculum Development)
is the state affiliate of ASCD, Mr. Baksa serves as a member of the state’s
conference planning committee and co-chair of the pre-conference committes. For

.eouthern Region, Mr, Baksa serves as an executive hoard member and chair of the

nominations committee. Momies for this conference will come cut of Title TE funds.

Michael Baksa, to attend the ASCD Annual Conference, Orlando, FL, Apat 2-4,
2005 at an approximate cost of $1,695.00 (Eaciosure — X-H. 3}

Backeround Information:
ASCD (Association for Supervisien and Curriculam Development) ts the national

atganization for the professional development of supervisors and curriculum
leaders. Monies for this conference will come out oF Title Ji funds.

Michael Baksa, to attend the Annual Federal Program Coordinator's Conference,
Pittsburgh, PA, Apnl 10-13, 2005 at an approximate cost of $705.00.
{Enclosure — X-H.6)}

Backeround Infonnation:
The conference covers al] regulations and Filing requirements for all FederalTitle
programs and provides professional development for model programs. This year

we recerved $387,000 in Tithe money. Monies for this conference will come cut of
Tithe F funds.

Dy. A.C. Gutterfield, to attend the ASCD) Annuai Conference, Orlando, FL, Apni 2-
4, 2005 at an approximate cost of $1,695.00. (faclosure X-H.7)

Backerourd Infermatior:

Dor, Butterfield is a presenter at thts conference. Monies for this conference will
come out of Title L funds.

 

Dr. A.C. Butterfield, to attend the Annual Federal Program Coordinator’:
Conference, Pittshurgh, PA, April 10-13, 2004 at an approximate cost of $705.00.
(Enclosure — X-H.8)

Backsround Infomation:

Monies for this conjerence will come qut of Tith | funds.

Steve Walker, to attend ASCD Annual Conference, Orlando, FL, April 2-4, 2005 at
an approximate cost of $1,695.00. (Enclosure —X-H¥)

Backstound Infomation:
Monies for this conference will come out of Title Tf funels.

Joel Riedel, to attend the NASSP Annwal Conference — Take Charge of Leamuneg,

San Francisco, (A, February 25-28, 2005 a: an approximate cost of $7.790.00,

(Enclosure — A-Hi0)

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Background Informangn:
Monies for this conference will come out of Title I funds.

11. James Plank and William Stone, to attend the 2004 National Academy of Finance
Leadership Summit, Las Vegas, NY, November 17-20, 2004 at an approximate cost
of $1,659.00 each. (Enclosure —X-H-11)

Backrround Information:
NAF grat finds will be used for this conference. This is the bast year fpr this
program (NAF) anil all fumds must be expended prior to June 30, 2005,

Approve the appointment/feappointment of the extra-curricular personnel for Winter and
Spring Sports for the 2004-2605 school year. (Enclosure —.X-D)

Backeround Information:
See enclosure.

Approve the following revised joh descriptions: (Enclosure — A-J)

1. Elementary School Principal
2. Intermediate School Assistant Principal

Backetound Information:
See enclosure,

Approve the following for the before‘after school Math and Language Arts Remediation

Program at North Salem Elementary Schocl in the position histed and compensation noted
for the 2004-2005 school year:

Nath Remediation Instructors and Substitute Instnctors:
Jason Betz - 326.15 per hour

Lisa Byerts - $26.15 per hour (Substitute)
Johanna Cunning- $22.96 per hour

Carla Fogelsonger - $22.96 per bour
Charles Jacobs - $26.15 per hour

Sandy Lawrence - $20.13 per hour
Heather Manifold - $22.04

Linda Massa - $26.15 per hour

Debra O'Donnell - $26.15 per hour
Kelley Ritter - $22.96 per hour

Megan Sippel - $22.96 per hour
Georgeann Sprague - $26.15 per hour
Tim Wendel - $26.15 per hour

Beth Ann Weston - $26.15 per hour

Lanmuege Arts Remediation Instructors and Substinite Instructor:
Tason Betz - $76.15 per hour

Lisa Byers - $26.15 per hour (Substitute)

Jghanna Cunning- $22.96 per nour

Carla Fogelsonger - $22.96 per hour

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Charles Jacoas - $26.15 per hour
Sandy Lawrence - $26.15 per bour
Heather Manifold - 322.96

Linda Massa - $26.15 per how
DebraO’Dormell - $26.15 per hour
Kelley Ritter - $22.96 per hour
Megan Sippel - $22.96 per hour
Georgearm Sprague - £26.15 per hour
Tim Wendel - $26.15 per hour

Beth Ann Weston - $26.15 per hour

Rackeround Information:

Funds for this before and after school program have been budgeted. The program begins
an October 76, 24.

Approve the following for the after-school Math and Language Arts Remediation Program
at Dover Elementary School in the position listed and compensation noted for the 2004
2005 school year.

Math Remediation Instructors and Substitute Instructors:
Diane Benner - $26.13 per hour

Lori Shirey - £22.96 per hour

Ketiy Stahiman - 322.96 per hour

Beth Stump - $26.15 per hour

Laneuage Arts Remediation Instructors and Substitute Instructors:
Mary Ann Frey - $26.15

Lon Shirey - $22.96

Beth Stump - $26.15

Barb Ferguson - $26.15

Kari Miller - $26.15

Backsround Informanon:
Funds for this after-school proeram have been budgeted. The program begins
November 9, 2004.

Approve the following staff members for the After-School Language Arts and Math
Remediation Program at Letb Elementary School in the positions and at the campensation
rate noted for the 2004-2005 schoo! year.

Laneuace Arts and Math Remediation Instructors
Mary Califarnia- $22.96 per hour

Teresa Dull- $26.13 per hour

Shelly Flesch- 326.15 per howr

Bonnie Kline- $26.15 per bour

Eerryn Maas- $26.15 per hour

Sandra McDowell- 526.15 per bour

Michael Pochyba- $26.12 per hour

Dane Weaver- $26.15 per hour

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Backoround Information

Funds for this after-schooi program have been budgeted. The program will bezia
November @, 7004,

Approve the followme for the After School Math and Language Arts Remediation

‘Program at Kralltown Elementary School in the position listed and compensation noted for

the 2004-27005 school year.

Deborab Smith $26.13 per hour
Caroiyn Burrell- $26.15 per hour
Deborah Wirth- $26.15 per hour
Yeronica Roblyer- $26.15 per hour
Kaistin DiBtasi- $22.96 per hour
Jessica Shaffer- 22.96 per hour
Gail O"’Donnell- $2296 per hour
Ans Partlow $26.15 per hour
Christine Daly 526.15 per hour

Backeround Information
Funds for this after-school program have been budgeted. The program will begin
October 19, 7004.

XI BUDGET AND FINANCE — Sheila Harkins

A,

Approve request for exoneration from school district per capita‘occupation taves for 2004-
2005 school year. (Enclosure —.XJ-A}

Backeround Information:
Dover Township - 3 Low Income
1 Armed Forces

 

Approve tax refund for the pertod of 1998/1999 through 2003/2004, due to correction on
Land Dimension in the amount of 51,758.51. (Enclosure — XT-B}

Background Infomation
See enclosure.

FYI: Single Audit acknowledgement tor fisca) year ending June 30, 2003,
(Enclosure — XI-C)

Backoraund information:
See encore,

FYI. The 1984 Ford Cluo Wagon was sold to Travis Schell for $210,

Backeround infomation:
This was the only offer received.

XT BUILDING AND GROUNDS - Jeff Brown

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XI CURRICULUM - Bill Buckingham

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FYI: The Superintendent has approved the donation of mve classroom sets (25 each) of Of

Pandas and People. The classroom sets will be used as references and will be made
available to all students.

AIY YORK COUNTY SCHOOL OF TECHNOLOGY — Casey Brown

XY 6 LIUVSPECIAL EDUCATION -— Heather Geesey

XVI YORK COUNTY HIGH SCHOOL - Angie Yingling

XVI LEGISLATIVE LLAISON = Noel Wench

XVID PSBA REPRESENTATIVE — Noel Wenrich

XIX COMMUNITY EDUCATION — Fane Cleaver

XX TRANSPORTATION — Jef Brown

A.

Approval to purchase the 2000 GMC van used for inter-schoo] mail and deliveries af a cast
of $6,036.95.

Backeround information:

Theré are three payments retaining on the contract end the Guy out would be at the end of
October.

FYI: Due to anforesgen reasons, £ & B Transportation Company is having dtfitculty with
hiring bus drivers. They have some drivers that want i drive, but are unable to find
someone to wateh their small children. Mr. Jeff Brown has agreed that E & B can place
car stats or the buses al their own expense. The majanty of other school districts allow
their bus contractots this option. There will be ao additional financial impact on
transportation for Dover Area Schoo! District Please see enclosure for information irom E
& B's insurance carrier. (Enclosure — XX-B)

XAT POLICY ~ Casey Brown

KXH TREASURER’S REPORT ~ Noel Wenrich

A.

Payment of Bills

Backsround Information:

Board summaries of expenditures, revenues and check register wil! bs included in the
hoard packet for October 18th, 2004,

Monthly Financial Statements for September, 2004.
Budget Summary

List of Paid Bilis

General Fund — Balances Sheet'Invesiment Schedule
Capital Reserve

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3,
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a.

Construction (1996)

2002 Construction

Food Service

student Activity Find
®. Activity Fund Report

“10. Affletic Fund

_ fEnclosure will be distributed with the October 18, 2004 board packet)
AAU] BUSINESS MANAGER'S REPORT

A. Included in the board packet for Gctober 4, 2004:
1, Construction Fund Analysis for August, 2004.
(Enclosure — XXUT-A-I)
2., Capital Reserve Fund Report for August, 2004,
* (Enclosure - XXTH-A-2)
3. 2002 High School Project Financial Analysis for August, 2004.
(£nclosure — XXTLT-A-3)
4. 2002 High School Capitalized Interest Account for August, 2004,
(Enclosure — XXTLT-A-d)
4. Dover Area School District Assessment Report for September, 2004.
(Enclosure — XXITF-A-5)

AAIY SUPERINTENDENT'S REPORT

A. NCLB Special Education and Altemative Education certification,
BE. Executive Session after bnard meeting on negotiations.

XXV MISCELLANEOUS
XXVI PUBLIC COMMENT

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